Case 3:17-Cr-OgA;91-RS Document 1 Filed 09/15/1_7_ Page 1 of 16

United States District Court § §§

FOR THE
NORTHERN D|STR|CT OF CAL|FORN|A

VENUEI SAN FRANC|SCO

 

    
 

UN|TED STATES OF A|\/|ER|CA,
V.

§§ 11 491 RS

G. STEVEN BURR|LL and |\/|ARC HOWARD BERGER,

DEFENDANT(S).

 

lNDlCTMENT

18 U.S.C. § 1343 - V\hre Fraud;
15 U.S.C. §§ 80b-6 81 80b-17 & 17 C.F.R. § 275.206(4)-8 - |nvestment-Adviser
Fraud;
26 U.S.C. § 7201 - Tax Evasion;
26 U.S.C. § 7206(2) - Aiding and Assisting in the Preparation of a Fa|se Tax Return;
18 U.S.C. § 2 - Aiding, Abetting, and V\h||fully Causing;
18 U.S.C. §§ 981(3)(1)(C) & 982(a) 81 28 U.S.C. § 2461 - Crimina| Forfeiture

 

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Foreman

 

Filed in open court this l fx day of
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1._ Case 3:17-cr-OQ91-RS Document 1 Filed 09/15/11 Page 2 of 16

AO 257 (Rev. 6/78)

 

 

DEFENDANT |NFORMAT|ON RELAT|VE TO A CR|M|NAL ACT|ON - lN U.S. DlSTR|CT COURT

 

BY: ij coi\/iPLAiNT l:l iNFoRi\/iATioN lNDlCTMENT

_oFFENsE cHARGED m SUPERSED'NG

 

26 U.S.C. § 7206(2) - Aiding and Assisting in the Preparation [:| Petty
ofa Fa|se Tax Return n
[:] Nllnor
l\/lisde-
|:] meanor
Fe|ony
PENALTY; See attachment

PROCEED|NG

Name of Comp|aintant Agency, or Person (& Title, if any)

 

 

|RS/FB|

person is awaiting trial in another Federal or State Court,
|:] give name of court

 

 

this person/proceeding is transferred from another district
[: per (circle one) FRCrp 20, 21, or 40. Show District

 

this is a reprosecution of
E charges previously dismissed

which were dismissed on motion SHOW

Of DOCKET NO
E U.S.ATTORNEY 1:' DEFENSE }

this prosecution relates to a
|:| pending case involving this same

 

 

 

defendant l\/lAGlSTRATE
CASE NO.
prior proceedings or appearance(s)
E before U.S. l\/lagistrate regarding this
defendant were recorded under ______-__ l
Name and Oi'tice of Person
Furnishing lnformation on this form ALEX TSE

 

\:|U.S. Attorney [j OtherU.S.Agency

Name of Assistant U.S.

Attorney (if assigned) ROBERT S. LEACH

 

 

PRocEss;
g suiviivioNs [:] No PRocEss* wARRANT

lt Summons, complete following:
|:| Arraignment [:j initial Appearance

Detendant Address:

Date/Time:

 

Comments:

   

Name of District Coun and/or Judge/l\/lagistrate Location

NORTHERN DlSTR|CT OF CALF?N l?NL E_

SAN FRANC|SCO DlV|S|ON

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a DEFENDANT - u.s 1113@1'7
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» lVlarc Howard Berger NORTHZ§A_},,, US D/STi;”l§O/VG
"S 111/cr 01 CA§LUU/?r

DlSTR|CT COURT NU|\/|BER /FUHN/A

4- DEFENDANT

|S NOTlN CUSTODY
Has not been arrestedl pending outcome this proceeding
) lf not detained give date any prior
summons was served on above charges

2) |:| ls a Fugitive

3) |: ls on Bail or Release from (show District)

 

lS |N CUSTODY
4) m On this charge

5) m On another conviction

} [:] Federa| |:| State

6) E Awaiting trial on other charges

lf answer to (6) is "Yes", show name of institution

|f "Yes"
} give date

 

Has detainer [:| Yes

been filed? |:1 NO med
DATE oF . l\/lonth/Day/Year
ARREST

 

Or... if Arresting Agency 81 Warrant were not

DATE TRANSFERRED |VlOnth/Day/Year
TO U.S. CUSTODY

 

 

 

ADD|T|ONAL |NFORMATION OR COMMENTS

 

m This report amends AO 257 previously submitted

 

Bail Amount:

* Where defendant previously apprehended on complaint no new summons or
warrant needed, since Magistrate has scheduled arraignment

Before Judge:

 

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m M

PENALTY SHEET ATTACHMENT
(Marc HoWard Berger)

Counts Thirtv-Two Through ThirtV-Four:
26 U.S.C. § 7206(2) - Aiding and Assisting in the Preparation of a False Tax Return

Maximum Penalties: 3 years of imprisonment (26 U.S.C. § 7206)
$250,000 fine or not more than the greater of twice the gross gain
or twice the gross loss (18 U.S.C. § 3571)
1 year of supervised release (18 U.S.C. §§ 3583(b) & 3559(a))
$100 special assessment (18 U.S.C. § 3013)

"~ Case 3:17-cr-OQ,491-RS Document 1 Filed 09/15/11 Page 4 of 16

AO 257 (Rev. 6/78)

 

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DEFENDANT lNFORMAT|ON RELAT|VE TO A CR|M|NAL ACT|ON - |N U.S. DlSTR|CT COURT

BY: E coiviPLAiNT E iNFoRMATioN lNDlCTMENT
i:| suPERsEDiNG

 

_OFFENSE CHARGED

18 u.s.C.§1343 - wire Fraud,~ |:] Pefty
15 U.S.C. §§ 80b-6 & 80b-i 7 & 17 C.F.R. § 275.206(4)-8 - _
lnvestment-Adviser Fraud; \:] M'nor
26 U.S.C. § 7201 - Tax Evasion; and Misde
-",A `, W'|if|| ' _
18 U S C § 2 Aiding betting and l u y Causlng |:| meanor
Fe|ony

PENALTY; See attachment

 

 

PROCEED|NG
Name of Comp|aintant Agency, or Person (& Tit|e, if any)

|RS/ FBi

person is awaiting trial in another Federal or State Court,
E give name of court

 

 

this person/proceeding is transferred from another district
l:] per (circ|e one) FRCrp 20, 21, or 40. Show District

 

this is a reprosecution of
E charges previously dismissed

which were dismissed on motion SHOW

01 DocKET No.
E U.S. ATTORNEY E DEFENSE }

this prosecution relates to a
pending case involving this same

 

 

 

 

defendant lVlAGiSTRATE
CASE NO.
prior proceedings or appearance(s)
before U.S. i\/|agistrate regarding this
defendant were recorded under __-
Name and Oche of Person
Furnishing information on this form ALEX TSE

 

|X\U.S. Attorney |:] OtherU.S. Agency

Name of Assistant U.S.

Attorney (if assigned) ROBERT S. LEACH

 

Name of District Court, and/or Judge/l\/lagistrate Location
NORTHERN DlSTR|CT OF CAL|FO _ |A

SAN FRANC|SCO D|V|S|ON

 

 

 

 

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DlSTR|CT COURT NU|\/iBER

- DEFENDANT

iS NOTlN CUSTODY
Has not been arrested, pending outcome this proceeding
1) if not detained give date any prior
summons was served on above charges »

2) [:| is a Fugitive

3) [:| is on Bail or Re|ease from (show District)

 

|S |N CUSTODY
4) {:| On this charge

5) |___] On another conviction

} [:| Federal |j State

6) m Awaiting trial on other charges

if answer to (6) is "Yes", show name of institution

if "Yes"
} give date

 

Has detainer |:i Yes

been filed? :1 NO filed
DATE oF » Month/Day/Year
ARREST

 

Or... if Arresting Agency & Warrant were not

DATE TRANSFERRED |ViOnth/Day/Year
TO U.S. CUSTODY

 

 

 

 

 

PROCESSZ
[:\ SUl\/ii\/lONS \:\ NO PROCESS* WARRANT

if Summons, complete following:
|:| Arraignment [:| initial Appearance

Defendant Address:

 

Comments:

ADD|T|ONAL |NFORMAT|ON OR COMMENTS

Date/Time:

 

[:] This report amends AO 257 previously submitted

 

Bail Amount:

* Where defendant previously apprehended on complaint no new summons or
warrant needed, since Magistrate has scheduled arraignment

Before Judge:

 

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PENALTY SHEET ATTACHMENT

(G. Steven Burrill)

Counts One Throu,qh TWentv-Six:

18 U.S.C. §§ 1343 & 2 - Wire Fraud and Aiding and Abetting

Maximum Penalties: 20 years of imprisonment (1 8 U.S.C. § 1343)

Count Twenty-Seven:

$250,000 fine or not more than the greater of twice the gross gain
or twice the gross loss (18 U.S.C. § 3571)

3 years of supervised release (18 U.S.C. §§ 3583(b) & 3559(a))

$100 special assessment (18 U.S.C. § 3013)

15 U.s.C. §§ 8013-6 & 80b-17, 18 U.s.C. § 2, & 17 c.F.R. § 275.206(4)-8 _ lnvestment-

Adviser Fraud

Maximum Penalties: 5 years of imprisonment (15 U.S.C. § 80b-l7)

$250,000 fine or not more than the greater of twice the gross gain
or twice the gross loss (18 U.S.C. § 3571)

3 years of supervised release (18 U.S.C. §§ 3583(b) & 3559(a))

$100 special assessment (18 U.S.C. § 3013)

Counts TWentv-Eight Through Thirtv-One:

26 U.S.C. § 7201 _ Tax Evasion

Maximum Penalties: 5 years of imprisonment (26 U.S.C. § 7201)

$250,000 fine or not more than the greater of twice the gross gain
or twice the gross loss (18 U.S.C. § 3571)

3 years of supervised release (18 U.S.C. §§ 3583(b) & 3559(a))

$100 special assessment (18 U.S.C. § 3013)

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ALEX TSE (CABN 152348) k]
Attorney for the United States, £‘~ E
Acting Under Authority Conferred By §£1§, _
28 U.s.C. § 515 11 , / "
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UNITED STATES DlSTRICT COURT
NORTHERN DlSTRICT OF CALIFORNIA

sAN E.ARCISCO DlvlsloNr" ' 7 ‘ ky
UNITED sTATEs oF AMERICA, .`_, orally 4 9 1

§§
Plaintift`, VIOLATIONS: 18 U.S.C. § 1343 -
Wire Fraud; 15 U.S.C. §§ 80b-6 & 80b-
17 & 17 C.F.R. § 275.206(4)-8 -
lnvestment-Adviser Fraud; 26 U.S.C.
§ 7201 - Tax Evasion; 26 U.S.C.
§ 7206(2) - Aiding and Assisting in the
Preparation of a False Tax Return; 18
U.S.C. § 2 - Aiding, Abetting, and
Willfully Causing; 18 U.S.C.
§§ 981(a)(1)(C) & 982(a) & 28 U.S.C.
§ 2461 - Criminal Forfeiture

V.

G. STEVEN BURRlLL and MARC
HOWARD BERGER,

Defendants.

~'/\/\'/\./\/\./V\./\'/VVV\'/\H

SAN FRANCISCO VENUE

 

IN D l C T l\/l E N T

The Grand Jury alleges:

Introductory Allegations

At all times relevant to this Indictment, unless otherwise indicated:

1. Defendant G. STEVEN BURRILL Was a Certitied Public Accountant (“CPA”) licensed
in California. He resided in San Francisco, California. BURRILL owned and controlled Burrill &
Company LLC (“B&C”), a Delaware limited liability company formed in 1996; Burrill Capital
Management, lnc. (“BCMI”), a Delaware corporation formed in 2002 ; Burrill Capital, LLC (“B-Cap”), a
Delaware limited liability company formed in 2006; and Burrill Capital Management, LLC (“BCM”), a

Delaware limited liability company formed in 2012 (collectively, the “Burrill Entities”). Through the

lNDlCTMENT 1

 

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Burrill Entities and other entities, BURRILL managed investment funds, including Burrill Life Sciences
Capital Fund III, lL.P. (the “Fund”).

2. Defendant MARC HOWARD BERGER was a CPA licensed in California and lllinois.
He resided in Walnut Creek, California. He was a partner of a regional CPA firm that engaged in the
business of tax preparation BERGER supervised other accountants in his firm regarding the
preparation of income tax returns which reported income and expenses related to the Fund and the
Bu_rrill Entities and for BURRILL individually for the years 2008 through 2013. BERGER signed as the
paid preparer on all such returns.

3. The Fund Was a Delaware limited partnership formed in or about 2005. lt was an
investment fund focused on the life sciences industry. From 2006 through 2014, the general partner of
the Fund was Burrill Life Sciences Capital Fund III Partners, L..P (“General Partner”), a Delaware
limited partnership, which was controlled and owned in part by Burrill.

4. The Fund’s total committed capital was approximately $283 million, most of which was
committed by limited partners The Fund was governed by a Second Amended and Restated Limited
Partnership Agreement (“LPA”) dated September 15, 2006. The LPA provided for a ten-year term for
the Fund, Which originally was set to expire in February 2016.

5. The LPA generally required the limited partners to make capital contributions in cash to
the Fund upon 10 days’ written notice from the General Partner. The LPA provided that the General
Partner, or its designee, would be compensated for services rendered to the Fund by the payment of a
management fee on the first day of each fiscal quarter equal to 0.5% of the amount of committed capital
for six years (and then 0.5% of the cost basis of the investrnents, plus reserves, after the initial six years).
BURRILL represented to the limited partners that the General Partner was not entitled to receive any
fees from the Fund except as expressly provided in the LPA. BURRILL represented to the limited
partners that the Fund would not make an investment if the General Partner or its members or affiliates
had a direct or indirect economic interest in such investment, except as specifically permitted by the
LPA. BURRILL further represented that, to the extent sales proceeds from any investment were not

distributed within 30 days of their receipt by the Fund, the General Partner would deliver a written

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explanation to limited partners setting forth the reason why some or all of such proceeds were not
promptly distributed

6. The LPA prohibited the General Partner and its members, without express approval by an
advisory committee ‘_of the limited partners, from entering into any transaction that was in any way
contrary to the best interests of the Fund; from engaging in any transaction with the Fund except for a
transaction on an arm’s length basis on terms no less favorable than those available from an unaffiliated §
party; and from doing any act in contravention of the LPA, or that would be detrimental to the best
interests of the Fund, or that would make it impossible to carry on the activities and affairs of the Fund.
The LPA also required the General Partner to promptly-submit all potential or actual conflicts of interest
involving the General Partner and the Fund to the advisory committee for resolution.
COUNTS ONE THROUGH TWENTY-SIX: (18 U.S.C. §§ 1343 & 2 ~ Wire Fraud and Aiding and
Abetting)

7. The factual allegations in Paragraphs 1 through 6 are re-alleged and incorporated by
reference. l

8. y Beginning in or about l)ecember 2007, through in or about October 2013, BURRILL,
with others, engaged in a scheme and artifice to defraud the Fund and the limited partners and to obtain
money and property from the Fund and the limited partners by means of materially false and fraudulent
pretenses, representations, and promises, and by omitting and concealing material facts. BURRILL
executed the scheme by, among other things, misappropriating money from the Fund. Among other
things, BURRILL induced limited partners to contribute capital to the Fund with false and misleading
capital call letters and caused the Fund to transfer millions of dollars in excess of the management fee
due as provided in the LPA (and that would ever be due) to the Burrill Entities.

9. In furtherance of the scheme to defraud, BURRILL used a variety of means and methods, n
including the following:

a. BURRILL represented to limited partners that the General Partner was not

entitled to receive any fees from the Fund except as expressly provided in the LPA and assured limited

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partners that the General Partner would submit all potential or actual conflicts of interest to an advisory
committee for resolution;

b. BURRILL signed and sent capital call letters to limited partners demanding the
payment of cash; falsely stating that the proceeds of the capital calls would be used for purposes
consistent with the LPA; and omitting the fact that BURRILL intended to transfer substantial portions of
the proceeds (including an amount beyond what was due under the LPA) to the Burrill Entities;

c. BURRILL caused the Fund to transfer money in excess of the management fee
due as provided in the LPA (and that would ever be due) to the Burrill Entities;

d. BURRILL and the General Partner entered into transactions that were contrary to
the best interests of the Fund; engaged in transactions with the Fund that were not on an arm’s length
basis on terms no less favorable than those available from an unaffiliated party; and did acts in
contravention of the LPA and that were detrimental to the best interests of the Fund, and that would
make it impossible to carry on the activities and affairs of the Fund;

e. BURRILL caused the Fund to fail to distribute sales proceeds from investments
within 30 days of their receipt by the Fund, and failed to provide a written explanation to limited
partners setting forth the reason why some or all of such proceeds were not promptly distributed; and

f`. BURRILL and others (including BERGER) made or caused false entries to be
made in the books and records of the Burrill Entities.

10. By September 2013, BURRILL caused the Fund to transfer to the Burrill Entities more
than $18 million in excess of the management fee then due under in the LPA (including an amount
beyond what would ever be due).

ll. On or about the dates set forth below, in the Northern District of California and
elsewhere, the defendant, 3

v G. STEVEN BURRILL,
did knowingly devise and intend to devise a scheme and artifice to defraud as to a material matter and to
obtain money and property by means of materially false and fraudulent pretenses, representations, and
promises, and by omissions and concealment of material facts with a duty to disclose, and, for the

purpose of executing such scheme and artifice and attempting to do so, did transmit, and cause to be

INDICTMENT 4

 

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transmitted, by means of wire communication in interstate and foreign commerce, certain writings,

signs, signals, pictures, and sounds, namely, the following:

 

 

COUNT APPROXIMATE DESCRIPTION _
DATE
ONE October 31, 2012 Capital call letter sent via e-mail and file-sharing

service from BURRILL in California to limited
partners in various states and countries

 

TWO November 14, 2012 $l,762,l93 wire transfer from account of Limited
Partner #l (“LPl”) at Mellon Trust to the Fund’s
account (xx3 648) at First Republic Bank

 

THREE November 14, 2012 $704,877 wire transfer from account of Limited
Partner #2 (“LP2”) at JP Morgan Chase to the Fund’s
account (xx3648) at First Republic Bank

 

FOUR November 14, 2012 $352,439 wire transfer from account of Limited
Partner #3 (“LP3”) at BMO Harris Bank to the Fund’s
account (xx3648) at First Republic Bank

 

FIVE November 14, 2012 $172,695 wire transfer from account of Limited
Partner #4 (“~LP4”) at JP Morgan Chase to the Fund’s
account (xx3648) at First Republic Bank

 

SD( January 14, 2013 Capital call letter sent via e-mail and file-sharing
service from BURRILL in California to limited
partners in various states and countries

 

SEVEN January 28, 2013 $1,057,316 wire transfer from LPl ’s account at
Mellon Trust to the Fund’s account (xx3648) at First
Republic Bank

 

EIGHT January 28, 2013 $422,926 wire transfer from LP2’s account at JP
Morgan Chase to the Fund’s account (xx3648) at First
Republic Bank

 

NINE January 28, 2013 $211,463 wire transfer from LP3’s account at BMO
Harris Bank to the Fund’s account (xx3648) at First
Republic Bank

 

TEN January 2_8, 2013 $103,617 wire transfer from LP4’s account at JP
Morgan Chase to the Fund’s account (xx3648) at First
Republic Bank `

 

ELEVEN March 18, 2013 Capital call letter sent via e-mail and file-sharing
service from BURRILL in California to limited
partners in various states and countries

 

TWELVE April l, 2013 $1,233,535 wire transfer from LPl ’s account at
Mellon Trust to the Fund’s account (xx3648) at First
Republic Bank

 

THIRTEEN April l, 2013 $493,414 wire transfer from LP2’s account at JP
Morgan Chase to the Fund’s account (xx3648) at First
Republic Bank

 

FOURTEEN April l, 2013 $246,707 wire transfer from LP3’s account at BMO
Harris Bank to the Fund’s account (xx3648) at First
Republic Bank

 

 

 

 

 

lNDlCTMENT 5

 

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COUNT

APPROXIMATE
DATE

DESCRIPTION

 

FIFTEEN

April 1, 2013

$120,886 wire transfer from LP4’s account at JP
Morgan Chase to the Fund’s account (xx3648) at First
Republic Bank

 

SlXTEEN

May 3, 2013

Capital call letter sent via e-mail and file-sharing
service from BURRILL in California to limited
partners in various states and countries

 

SEVENTEEN

May 17, 2013

$704,877 wire transfer from LPl ’s account at Mellon
Trust to the Fund’s account (xx3648) at First Republic
Bank

 

EIGHTEEN

May 17, 2013

$281,951 wire transfer from LP2’s account at JP
Morgan Chase to the Fund’s account (xx3648) at First
Republic Bank

 

NlNETEEN

May 17, 2013

$140,975 wire transfer from LP3’s account at BMO
Harris Bank to the Fund’s account (xx3648) at First
Republic Bank

 

TWENTY '

May 17, 2013

$69,079 wire transfer from LP4’s account at JP
Morgan Chase to the Fund’s account (xx3648) at First
Republic Bank

 

TWENTY-ONE

June 13, 2013

Capital call letter sent via e-mail and file-sharing
service from BURRILL in Calif`ornia to limited
partners in various states and countries

 

TWENTY-TWO

June 27, 2013

$422,926 wire transfer from LPl ’s account at Mellon
Trust to the Fund’s account (xx3648) at First Republic
Bank

 

TWENTY-THREE

June 27, 2013

$169,171 wire transfer from LP2’s account at JP
Morgan Chase to the Fund’s account (xx3648) at First
Republic Bank

 

TWENTY-FOUR

August 16, 2013

Capital call letter sent via e-mail and file-sharing
service from BURRILL in California to limited
partners in various states and countries

 

 

 

TWENTY-FIVE August 30, 2013 $704,877 wire transfer from LPl ’s account at Mellon
Trust to the Fund’s account (xx3648) at First Republic
Bank '
TWENTY-SIX August 30, 2013 $281,951 wire transfer from LP2’s account at JP

 

 

Morgan Chase to the Fund’s account (xx3648) at First
Republic Bank

 

 

 

All in violation of Title 18, United States Code, Sections 1343 and 2.

- Investment-Adviser Fraud)

coUNT erNTY-sEvEN; (15 U.s.C. §§ 806-6 & 806-17, 18 U.s.c. § 2, & 17 C.F.R. § 275.206(4)-8

12. The factual allegations in Paragraphs l through 10 are re-alleged and incorporated by

reference.

lNDlCTMENT

 

 

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13. At relevant times, BURRILL, BCMI, and BCM were investment advisers within the
meaning of 15 U.S.C. § 8_0b-2(a)(11).

14. Beginning in or about December 2007 and continuing through in or about October 2013,
in the Northem District of California and elsewhere, the defendant, '

G. STEVEN BURRILL,

did willfully and knowingly, by the use of the mails and means and instrumentalities of interstate
commerce, directly and indirectly: (a) employ devices, schemes, and artifices to defraud clients and
prospective clients as to a material matter; (b) engage in transactions, practices, and courses of business
which operated as a fraud and deceit upon clients and prospective clients as to a material matter; and (c)
engage in acts, practices, and courses of business that Were fraudulent, deceptive, and manipulative as to
a material matter, namely, sending false and misleading capital call letters to limited partners and
causing the Fund to transfer money in excess of the management fee due as provided in the LPA (and
that would ever be due) to the Burrill Entities.

All in violation of Title 15 , United States Code, Sections 80b-6 and 80b-17; Title 18, United
States Code, Section 2; and Title 17, Code of Federal Regulations, Section 275.206(4)-8.
COUN”l` TWENTY-EIGHT: (26 U.S.C. § 7201 - Tax Evasion)

15. The factual allegations in Paragraphs l through 6 are re-alleged and incorporated by
reference.

l6. From on or about January l, 2010, and continuing to on or about October 10, 2011, in t_he
Northem District of California and elsewhere, the defendant,

G. STEVEN BURRILL,

did willfully attempt to evade and defeat income tax due and owing by him to the United States of
America, for the calendar year 2010, by committing the following affirmative acts, among others:
preparing and causing to be prepared, and signing and causing to be signed, a false and fraudulent U.S.
lndividual Income Tax Return, Form 1040, in his own name, Which understated Total Income and was
submitted to the Internal Revenue Service; and causing the Fund to transfer money to several bank
accounts in the names of the Burrill Entities, rather than to himself, with the intent to conceal his control

and spending of the money on expenses not related to the Fund.

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All in violation of Title 26, United States Code, Section 7201.

COUNT TWENTY-NINE: (26 U.S.C. § 7201 - Tax Evasion)

 

17. The factual allegations in Paragraphs 1 through 6 are re-alleged and incorporated by
reference. 4

18. From on or about January 1, 2011, and continuing to on or about October 11, 2012, in the
Northem District of California and elsewhere, the defendant,

G. STEVEN BURRILL,

did willfully attempt to evade and defeat income tax due and owing by him to the United States of
America, for the calendar year 2011, by committing the following affirmative acts, among others:
preparing and causing to be prepared, and signing and causing to be signed, a false and fraudulent U.S.
Individual Income Tax Return, Form 1040, in~ his own name, which understated Total Income and was
submitted to the Internal Revenue Service; causing the Fund to transfer money to several bank accounts
in the names of the Burrill Entities, rather than to himself, with the intent to conceal his control and
spending of the money on expenses not related to the Fund; and making or causing false entries in the
books and records of the Burrill Entities. 4

All in violation of Title 26, United States Code, Section 7201.
COUNT THIRTY: (26 U.S.C. § 7201 _ Tax Evasion)

19. The factual allegations in Paragraphs l through 6 are re-alleged and incorporated by
reference.

20. From on or about January 1, 2012, and continuing to on or about October 11, 2013, in the
Northem District of California and elsewhere, the defendant,

G. sTEvEN BURRILL, 4

did willfully attempt to evade and defeat income tax due and owing by him to the United States of
America, for the calendar year 2012, by committing the following affirmative acts, among others:
preparing and causing to be prepared, and signing and causing to be signed, a false and fraudulent U.S.
lndividual Income Tax Return, Form 1040, in his own name, which understated Total Income and was
submitted to the lnternal Revenue Service; causing the Fund to transfer money to several bank accounts

in the names of the Burrill Entities, rather than to himself, with the intent to conceal his control and

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spending of the money on expenses not related to the Fund; and making or causing false entries in the
books and records of the Burrill Entities.
All in violation of Title 26, United States Code, Section 7201.

COUNT THIRTY-ONE: (26 U.S.C. § 7201 - Tax Evasion)

 

21. The factual allegations in Paragraphs 1 through 6 are re-alleged and incorporated by
reference. v 4

22. F rom on or about January l, 2013, and continuing to on or about October 10, 2014, in the
Northem District of California and elsewhere, the defendant,

G. STEVEN BURRILL,

did willfully attempt to evade and defeat income tax due and owing by him to the United States of
America, for the calendar year 2013, by committing the following affirmative acts, among others:
preparing and causing to be prepared, and signing and causing to be signed, a false and fraudulent U.S.
Individual Income Tax Return, Form 1040, in his own name, which understated Total Income and was
submitted to the Internal Revenue Service; causing the Fund to transfer money to several bank accounts
in the names of the Burrill Entities, rather than to himself, With the intent to conceal his control and
spending of the money on expenses not related to the Fund; and making or causing false entries in the
books and records of the Burrill Entities.

All in violation of Title 26, United States Code, Section 7201.
COUNTS THIRTY-TWO THROUGH THIRTY-FOUR: (26 U.S.C. § 7206(2) - Aiding and Assisting
in the Preparation of a False Tax Return)

23. The factual allegations in Paragraphs l through 6 are re-alleged and incorporated by
reference.

24. On or about the dates set forth below, in the Northem District of California and
elsewhere, the defendant,

MARC HOWARD BERGER,

did willfully aid and assist in, and procure, counsel, and advise the preparation and presentation to the
Intemal Revenue Service, of U.S. Individual Income Tax Retums, Forms 1040, of G. STEVEN

BURRILL and another, for the calendar years set forth below. The returns Were false and fraudulent as

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to a material matter, in that they each reported Total Income below $0, as listed below, whereas, as the

defendant knew, the Total Income was in excess of the amount reported:

 

 

 

 

COUNT APPROXIMATE CALENDAR YEAR TOTAL INCOME
DATE (LINE 22)
THIRTY-TWO October l 1, 2012 2011 -$245,870
THIRTY-THREE October 11, 2013 2012 -$875,845
THIRTY-FOUR October 10, 2014 2013 -$850,491

 

 

 

 

 

 

 

 

All in violation of Title 26, United States Code, Section 7206(2).

FORFEITURE ALLEGATION: (18 U.S.C. §§ 981(a)(1)(C) & 982(a) & 28 U.S.C. § 2461 - Criminal
Forfeiture)

25. The factual allegations in Paragraphs l through 11 are re-alleged and incorporated by
reference for the purpose of alleging forfeiture pursuant to Title 18, United States Code, Sections
981(a)(1)(C) and 982(a), and Title 28, United States Code, Section 2461.

26. Upon conviction of any of the offenses alleged in Counts One through Twenty-Six, the
defendant,

G. STEVEN BURRILL,
shall forfeit to the United States, pursuant to Title 18, United States Code, Sections 981(a)(1)(C) and
982(a), and Title 28, United States Code, Section 2461 , any property, real and personal, which
constitutes or is derived from proceeds traceable to said violations.

27. If, as a result of any act or omission of the defendant, any of said property

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to or deposited with a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property, which cannot be divided without difficulty;
any and all interest defendant has in any other property shall be forfeited to the United States, pursuant
to Title 18, United States Code, Sections 981(a)(1)(C) and 982(a), and Title 28, United States Code,
Section 2461.

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All in violation of Title 18, United States Code, Sections 981(a)(1)(C) and 982(a), and Title 28,
United States Code, Section 2461.

 

DATED: September 14, 2017 A TRUE BILL.
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FOREPERSON
ALEX TSE

Attorney for the United States,
Acting Under Authority Conferred By
28 U.S.C. § 515

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BARBARA J. vALLrERFN
Chief, Criminal Division

 

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AUSA ROBERT S. LEACH

(Approved as to form:

 

 
 

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Trial Attorney, U.S. Department of Justice,
Tax Division

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